           Case 1:01-cv-12257-PBS Document 7250-1 Filed 09/15/10 Page 1 of 2




                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS



IN RE: PHARMACEUTICAL INDUSTRY                                 MDL NO. 1456
AVERAGE WHOLESALE PRICE LITIGATION
                                                               CIVIL ACTION: 01-CV-12257-PBS


THIS DOCUMENT RELATES TO:

State of Arizona v. Abbott Labs., Inc., et al.,
        Cause No. 1:06-CV-11069-PBS



                  [PROPOSED] ORDER GRANTING MOTION FOR DISMISSAL OF
                     THE JOHNSON & JOHNSON GROUP WITH PREJUDICE


            The Motion for Dismissal of the Johnson & Johnson Group with Prejudice is hereby

GRANTED.

            Defendants the Johnson & Johnson Group is hereby dismissed from the above-referenced

action.

            The parties shall each bear their own costs.

            This dismissal has no effect on the State of Arizona’s claims or allegations against any

parties other than the Johnson & Johnson Group.




            SO ORDERED this ___ day of __________, 2010.




                                      HON. PATTI B. SARIS, USDJ




                                                    -1-
001534-14 393340 V1
           Case 1:01-cv-12257-PBS Document 7250-1 Filed 09/15/10 Page 2 of 2




                                CERTIFICATE OF SERVICE


        I, Steve W. Berman, hereby certify that a true and correct copy of the above document
was served on the attorney of record for each party via the Court’s electronic filing system this
15th day of September, 2010.


                                              By        /s/ Steve W. Berman
                                                 Steve W. Berman
                                              HAGENS BERMAN SOBOL SHAPIRO LLP
                                              1918 Eighth Avenue, Suite 3300
                                              Seattle, WA 98101
                                              (206) 623-7292




                                               -2-
001534-14 393340 V1
